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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
RONNIE STEWART, et al.,                   )
                                           )
                              Plaintiffs,  )
                                           )
            v.                             ) No. 1:18-cv-0152-JEB
                                           )
ALEX M. AZAR, et al.                      )
                                           )
                              Defendants. )
                                           )

                                JOINT STATUS REPORT

        In accordance with the Court’s minute order on August 30, 2018, plaintiffs Ronnie

Maurice Stewart, et al., federal defendants Alex M. Azar, et al., and intervenor-defendant the

Commonwealth of Kentucky (collectively, the “parties”) respectfully submit the following

joint status report.

    1. On July 19, 2018, in light of this Court’s remand order, the Centers for Medicare &

        Medicaid Services (“CMS”) opened another 30-day federal public comment period

        so that the public could submit comments regarding (1) Kentucky's original August

        24, 2016, demonstration project proposal under 42 U.S.C. § 1315; (2) Kentucky’s

        July 3, 2017, revised proposal; and (3) the special terms and conditions (“STCs”) that

        CMS approved on January 12, 2018, in connection with Kentucky’s proposals.

    2. The federal comment period closed on August 18, 2018.

    3. CMS continues to evaluate Kentucky’s application and the submitted comments.

    4. The parties will update the Court in their next joint status report, due on October 15,

        2018, regarding any further developments. See Aug. 30, 2018 Minute Order.




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Dated: September 14, 2018              Respectfully submitted,

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